      Case 2:22-cv-02048-JAR-ADM Document 151 Filed 05/25/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

B.J. SMITH, BRADFORD ZINN,      )
and JERED ROSS,                 )
                                )                     Case No. 22-CV-02048
                Plaintiffs,     )
v.                              )
                                )
HIGHLAND COMMUNITY              )
COLLEGE (HCC), THE BOARD OF     )
TRUSTEES FOR HCC, RUSSELL KARN, )
DEBORAH FOX, and BRYAN DORREL, )
                                )
                Defendants.     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all parties who have appeared hereby stipulate

that all claims by all Plaintiffs against all remaining Defendants are hereby dismissed with

prejudice. The parties shall bear their own costs and fees.

                                              Respectfully submitted,

                                              WILLIAMS DIRKS DAMERON LLC

                                              /s/ Michael A. Williams
                                              Michael A. Williams KS # 19124
                                              1100 Main Street, Suite 2600
                                              Kansas City, Missouri 64105
                                              Email: mwilliams@williamsdirks.com

                                              William C. Odle         KS Bar No. 38571
                                              THE ODLE LAW FIRM, LLC
                                              6½ East First Street, Suite 2
                                              Parkville, Missouri 64152
                                              Phone: (816) 631-5220
                                              Facsimile: (816) 631-5225
                                              Email: wodle@odlelawfirm.com
                                              ATTORNEYS FOR PLAINTIFF




                                                 1
Case 2:22-cv-02048-JAR-ADM Document 151 Filed 05/25/23 Page 2 of 2




                              SANDERS WARREN & RUSSELL LLP

                              /s/ Sean M. Sturdivan
                              Sean M. Sturdivan     KS Bar No. 21286
                              Tracy M. Hayes        KS Bar No. 23119
                              Kaitlin Marsh-Blake KS Bar No. 26462
                              Compass Corporate Centre
                              11225 College Boulevard, Suite 450
                              Overland Park, Kansas 66210
                              Phone: (913) 234-6100
                              Facsimile: (913) 234-6199
                              Email: s.sturdivan@swrllp.com
                              Email: t.hayes@swrllp.com
                              Email: k.marsh-blake@swrllp.com
                              ATTORNEYS FOR DEFENDANTS




                                2
